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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
JRS                                                271 Cadman Plaza East
F. #2016R00695                                     Brooklyn, New York 11201



                                                   July 21, 2023

By ECF

The Honorable Nicholas G. Garaufis
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:      United States v. Manuel Chang
                       Criminal Docket No. 18-681 (NGG)

Dear Judge Garaufis:

               The government respectfully submits this letter pursuant to the Court’s July 19,
2023 order. The government has conferred with counsel for the MDC, who stated that the
defendant has been provided with all of his medications. The government has also conferred with
counsel for the defendant, who stated that they spoke with the defendant this morning and he
confirmed that he has received his medications.

              The government therefore respectfully requests that the hearing scheduled for July
24, 2023 be cancelled. The defendant joins in this request.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:     /s/ Jonathan Siegel
                                                   Hiral D. Mehta
                                                   Jonathan Siegel
                                                   Assistant U.S. Attorneys
                                                   (718) 254-6293/6418



cc:    Clerk of the Court (NGG) (by ECF)
       Counsel of Record (by ECF)
       Kenneth Bork, MDC Legal Counsel (by email)
